       1:14-cv-01253-CSB-DGB # 26              Page 1 of 4
                                                                                                     E-FILED
                                                                         Friday, 10 April, 2015 08:51:18 AM
                                                                              Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS

JIMMY CHENOWETH,                                   )
                                                   )
                               Plaintiff,          )
                                                   )
       v.                                          )           14-1253
                                                   )
HILL CORRECTIONAL CENTER, et al.                   )
                                                   )
                               Defendants.         )

                                              ORDER

COLIN S. BRUCE, U.S. District Judge:

       Plaintiff, proceeding pro se and currently incarcerated at Western Illinois Correctional

Center, brought the present lawsuit pursuant to the Americans with Disabilities Act (“ADA”), 42

U.S.C. § 12101, alleging the denial of prison services and amenities at Hill Correctional Center

because of his disability. Matter is before the Court for ruling on the Defendants’ Motion for

Summary Judgment on the Issue of Administrative Remedies (Doc. 18).

                                            BACKGROUND

       Plaintiff’s leg is amputated above the knee. Plaintiff is able to move around with the

assistance of a crutch and a prosthetic leg. On June 23, 2014, Plaintiff filed the present lawsuit

(Doc. 1) alleging that prison officials at Hill Correctional Center (“Hill”) denied him a transfer to

an ADA-compliant prison facility, and because of his disability, Plaintiff was being denied law

library and shower privileges at Hill. Plaintiff filed two grievances at Hill related to these issues.

The first, filed on April 28, 2014, relates Plaintiff’s cell placement and his need to be placed in a

lower gallery because of his disability. (Doc. 19-2). The second grievance, filed on June 9,

2014, states that Plaintiff has been denied access to the law library because of his difficulty

walking up stairs. (Doc. 19-3). Both grievances were denied by the grievance officer on June

                                             Page 1 of 4
        1:14-cv-01253-CSB-DGB # 26            Page 2 of 4



16, 2014 and June 19, 2014, respectively. (Docs. 19-4; 19-5). Shortly thereafter, the Chief

Administrative Officer (“CAO”) concurred with the grievance officer’s decisions. Plaintiff

appealed the CAO’s decisions on July 14, 2014, and July 4, 2014. As of the filing of

Defendants’ Motion for Summary Judgment, the appeals were still pending decision by the

ARB. (Doc. 19-6; Billie Greer aff. ¶ 10).

        Defendants filed their Motion for Summary Judgment on the Issue of Failure to Exhaust

Administrative Remedies on October 1, 2014. As of the date of this Order, Plaintiff has not filed

a response, nor has Plaintiff filed a motion seeking an extension of time to do so.

                                            ANALYSIS

        Failure to exhaust is an affirmative defense, and therefore the burden of proof lies with

the defendants. Turley v. Rednour, 729 F.3d 645, 650 (7th Cir. 2013). The Court must hold an

evidentiary hearing if a disputed issue of material fact exists, see Pavey v. Conley, 544 F.3d 739,

742 (7th Cir. 2008), but where none is present, an evidentiary hearing is unnecessary and the

issue of exhaustion may be decided as a matter of law. Doss v. Gilkey, 649 F. Supp. 2d 905, 912

(S.D. Ill. 2009).

        The Prison Litigation Reform Act (PLRA) provides:

        No action shall be brought with respect to prison conditions under section 1983 of
        this title, or any other Federal law, by a prisoner confined in any jail, prison, or
        other correctional facility until such administrative remedies as are available are
        exhausted.

42 U.S.C. § 1997e(a) (2013). The purpose of this requirement is to “alert the state to the

problem and invite corrective action.” Turley, 729 F.3d at 649 (internal citations omitted). The

Seventh Circuit has adopted a strict compliance standard to exhaustion, and to exhaust remedies

“a prisoner must properly use the prison’s grievance process.” Dole v. Chandler, 438 F.3d 804,

809 (7th Cir. 2006). In other words, “a prisoner must file complaints and appeals in the place,

                                            Page 2 of 4
          1:14-cv-01253-CSB-DGB # 26            Page 3 of 4



and at the time, the prison’s administrative rules require.” Pozo v. McCaughtry, 286 F.3d 1022,

1025 (7th Cir. 2002). If the prisoner fails to follow the grievance procedures, “the prison

administrative authority can refuse to hear the case, and the prisoner's claim can be indefinitely

unexhausted.” Id.; see Dole, 438 F.3d at 809 (quoting same). “The ‘applicable procedural rules’

that a prisoner must properly exhaust are defined not by the PLRA, but by the prison grievance

process itself.” Maddox v. Love, 655 F.3d 709, 721 (7th Cir. 2011) (citing Jones v. Bock, 549

U.S. 199, 218 (2007)).

          The Illinois Administrative Code establishes the grievance procedures for inmates of the

Illinois Department of Corrections. Inmates unable to resolve their issues informally with prison

staff may file a written grievance on a form provided by the prison. 20 ILL. ADMIN. CODE §

504.810(a). The grievance must be filed “within 60 days after the discovery of the incident,

occurrence, or problem that gives rise to the grievance.” Id. § 504.810(a). A grievance officer,

however, shall consider a grievance filed outside of the 60-day time period if the inmate “can

demonstrate that a grievance was not timely filed for good cause….” Id. A grievance officer

considers each grievance and submits a recommendation to the Chief Administrative Officer,

who notifies the inmate of his decision. Id. § 504.830(d). An inmate may appeal the CAO’s

decision to the Director, but must do so within 30 days of the decision. Id. § 504.850(a). Once

an appeal is received, the Administrative Review Board reviews the appeal and provides the

Director with a written report of its findings and recommendations. Id. § 504.850(e).

          Defendants argue that Plaintiff failed to exhaust his administrative remedies because he

filed suit too soon, that is, before the ARB had issued a decision on his appeals. The Court

agrees.




                                             Page 3 of 4
       1:14-cv-01253-CSB-DGB # 26              Page 4 of 4



       A lawsuit is “brought” for purposes of the PLRA at the time the original complaint is

filed with the Clerk of Court. Ford v. Johnson, 362 F.3d 395, 399 (7th Cir. 2004). Plaintiff filed,

and therefore brought, his lawsuit under § 1983 on June 23, 2014, shortly after receiving the

CAO’s decision, but prior to filing an appeal with the ARB. Because Plaintiff brought his

lawsuit when the administrative process was still ongoing, the Court cannot find that the Plaintiff

properly exhausted his administrative remedies for purposes of satisfying the PLRA. See id. at

398 (the PLRA espouses the principle of “negotiate now, litigate later,” and to prevent

subversion of this principle, “it is essential to keep the courthouse doors closed until those efforts

have run their course.”). Therefore, Defendants’ Motion for Summary Judgment on the Issue of

Failure to Exhaust Administrative Remedies is granted.

IT IS THEREFORE ORDERED:

   1) Defendants’ Motion for Summary Judgment [18] is GRANTED. The case is
      dismissed without prejudice. All pending motions are denied as moot, and this case
      is terminated, with the parties to bear their own costs. All deadlines and settings on
      the Court’s calendar are vacated.

   2) If Plaintiff wishes to appeal this judgment, he must file a notice of appeal with this
      Court within 30 days of the entry of judgment. Fed. R. App. P. 4(a)(4). A motion
      for leave to appeal in forma pauperis should identify the issues Plaintiff will present
      on appeal. See Fed. R. App. P. 24(a)(1)(c).

Entered this 10th day of April, 2015.



                                       s/Colin S. Bruce
                                     COLIN S. BRUCE
                              UNITED STATES DISTRICT JUDGE




                                             Page 4 of 4
